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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   HB Productions, Inc.,                  )   Case No.: 1:19-cv-00487-JMS-KJM
                                          )   (Copyright)
                                          )
                     Plaintiff,           )   MEMORANDUM OF POINTS AND
       vs.                                )   AUTHORITIES IN SUPPORT OF
                                          )   PLAINTIFF’S FIRST EX PARTE
                                          )   MOTION FOR ORDER
   Muhammad Faizan, et al.,               )   PERMITING CLERK TO
                                          )   PERFORM FOREIGN MAILING
                     Defendants.          )
                                          )
                                          )

       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
       PLAINTIFF’S FIRST EX PARTE MOTION FOR ORDER PERMITING
                 CLERK TO PERFORM FOREIGN MAILING

  I.     INTRODUCTION
         As alleged by Plaintiff in the Complaint, Defendant Muhammad Faizan

  (“Faizan”) is intentionally inducing and contributing to copyright infringement of

  Plaintiff’s Copyright protected motion picture Hellboy in violation of the United

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  States Copyright Act, 17 U.S.C. 101 §§ et. seq. and committing false advertising in

  violation of the Lanham Act §43(a), 15 U.S.C. §1125(a) by promoting and

  distributing torrent files of Plaintiff’s motion picture Hellboy. See Complaint [Doc.

  #1] at ¶2. Plaintiff seeks to have Defendant Faizan served promptly so that it can

  request injunctive relief.

  II.   LEGAL STANDARD

        The United States is a contracting party and Pakistan is a member to the

  Convention of 15 November 1965 on the Service Abroad of Judicial and

  Extrajudicial Documents in Civil or Commercial Matters (“Hague Convention”).

  See https://www.hcch.net/en/instruments/conventions/status-table/?cid=17 [last

  accessed on Sept. 11, 2019]. Article 10 of the Hague Convention states that

  “Provided the State of destination does not object, the present Convention shall not

  interfere with a) the freedom to send judicial documents, by postal channels,

  directly to persons abroad”. Hague Convention, Art. 10. Pakistan has indicated

  that it does not oppose Article 10(a). Particularly, Pakistan states, “…it has no

  objection to such service by postal channels directly to the persons concerned

  (Article 10(a))…if such service is recognised by the law of the requesting State.”

  Declaration/Reservation/Notification,

  https://www.hcch.net/en/states/authorities/notifications/?csid=436&disp=resdn

  (reprinted as Exhibit “1”).

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        ORDER V (ISSUE AND SERVICE OF SUMMONS), 10 of the Civil

  Procedure Code of Pakistan states:

        10. Service of the summons shall be made by delivering or tendering a copy thereof
        signed by the Judge or such officer, as he appoints in this behalf, and sealed with the seal
        of the Court.
        2[10-A.-(1) simultaneously, with the issue of summons under rule 9, there shall be sent,
        unless to the defendant, by registered other copy of the summons provided in rule 10.
        (2) An acknowledgement purporting to be signed by the defendant of the receipt of the
        registered communication or an endorsement by a postal employee that the defendant
        refused to take delivery of the same shall be deemed by the Court issuing the summons to
        be prima facie proof of service of summons

  Code of Civil Procedure of Pakistan [Civil Code], Order V, Paragraph 10 (relevant
  portion reprinted as Exhibit 2), Available at https://www.ma-
  law.org.pk/pdflaw/CODE%20OF%20CIVIL%20PROCEDURE%201908.pdf as of
  May 10, 2019.


        In Brockmeyer v. May the Ninth Circuit determined that Article 10(a) of the

  Hague Convention allows service of process by international mail but required

  such service “to be performed in accordance with the requirements of Rule 4(f).

  Service by international mail is affirmatively authorized by Rule 4(f)(2)(C)(ii),

  which requires that service be sent by the clerk of the court, using a form of mail

  requiring a signed receipt.” Brokmeyer v. May, 383 F.3d 798, 808 (Ninth Circ.

  2004). In Water Splash Inc. v. Menon, the United States Supreme Court adopted

  the Ninth Circuit’s reasoning and stated that service by mail per Article 10(a) “is

  permissible if two conditions are met: first, the receiving state has not objected to

  service by mail; and second service by mail is authorized under otherwise-

  applicable laws.” Water Splash Inc. v. Menon, 137 S.Ct. 1504, 1513 (2017).
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  III.   ARGUMENT

  A.     The Hague Convention and Rule 4(f) explicitly permit service by

  registered mail.

         As the Ninth Circuit made clear in Brokmeyer: the Hague Convention allows

  service of process by international mail as long as such service is performed in

  accordance with Rule 4(f); and service by international mail is affirmatively

  authorized by Rule 4(f)(2)(C)(ii). See Brokmeyer at 808. In comparison to Rule

  4(f)(3) which explicitly requires a Court order, Plaintiff respectively points out that

  Rule 4(f)(2)(c)(ii) does not require a Court order.

  B. Pakistan does not prohibit service by mail in its declarations for the Hague

  Convention.

         The Hague Conference on Private International Law maintains an Internet

  website at https://www.hcch.net/ including information on all of the Hague

  Conventions, protocols and instruments. The website includes a link for each

  country which includes the country’s central authority and practical information.

  The practical information includes each country’s declarations with regards to the

  Articles of the Hague Convention. Here, Pakistan declares that it is not opposed to

  Article 10(a). See Exhibit “1”, see also Steven K. Davidson et al., Should The

  Postman Ringeth? Service of Process Abroad by Mail Under the Hague Service

  Convention, June 6, 2017, https://www.steptoe.com/en/news-publications/should-

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  the-postman-ringeth-service-of-process-abroad-by-mail-under-the-hague-service-

  convention.html [last accessed on Sept. 11, 2019] (“..a number of countries have not

  objected to service of process or the delivery of other judicial documents by mail

  under Article 10(a), including…Pakistan and the United States, among others.”)

  Plaintiff seeks to serve Defendant via FedEx, a type of mailing that will be tracked

  and requires a signature by the recipient. Accordingly, the type of service Plaintiff

  requests is not prohibited by the Hague Convention.

  C.      The internal law of Pakistan provides for service by mail.

          The Civil Code of Pakistan explicitly requires “An acknowledgement … by

  the defendant of the receipt…or an endorsement by a postal employee that the

  defendant refused to take delivery” as “prima facie proof of service of summons”.

  Exhibit “2”. Accordingly, the Civil Code of Pakistan permits service by registered

  mail.

          Plaintiff seek to send the documents to Defendant Faizan via FedEx, a type of

  mailing that will be tracked and requires a signature by the recipient. Accordingly,

  the type of service Plaintiff requests is not prohibited by the law of Pakistan and

  consistent with Pakistan’s internal law.

  D.      Plaintiff is choosing service by mail to promptly effect service.

          Although, Defendant Faizan has taken down his website mkvcage.com and

  mkvcage.fun, he apparently continues to distribute torrent files of motion pictures at

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  another torrent site. See Ernesto, Popular Torrent Site MKVCage Faces Lawsuit

  and Goes Offline, September 11, 2019, https://torrentfreak.com/popular-torrent-site-

  mkvcage-faces-lawsuit-and-goes-offline/ [last accessed on Sept. 11, 2019]

  (“MKVCage’s latest upload at external websites, such as 1337x, was two days ago.)

  In the cases Venice PI, LLC et al. v. Galbatross Technologies, LLP et al. and Venice

  PI, LLC et al. v. DOE 1 d/b/a YIFY, et al. involving similar causes of action, this

  Court has ruled that the Plaintiffs cannot seek injunctive relief against a Defendant

  until that particular Defendant has been served. See

  Venice PI, LLC et al. v. Galbatross Technologies, LLP et al., 1:18-cv-00192-LEK-

  KSC, Doc.# 15 and Venice PI, LLC et al. v. DOE 1 d/b/a YIFY, et al, 1:19-cv-00169-

  LEK-KJM, Doc. #16. Therefore, it would be very unlikely that the Court would

  grant injunctive relief in the present case against Defendant Faizan until he is served.

  Accordingly, one of the reasons Plaintiff seeks to serve the Defendant Faizan via

  international mail is so that injunctive relief can be promptly sought.

  IV.   CONCLUSION

        Accordingly, Plaintiff respectfully requests that the Court grant an order

  permitting the Clerk to mail the documents via FedEx to effect service to Defendant

  Faizan pursuant to Rules 4(f)(1) and 4(f)(2)(C)(ii) of the Federal Rules of Civil

  Procedure.

        DATED: Kailua-Kona, Hawaii, September 12, 2019.

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                               CULPEPPER IP, LLLC


                               /s/ Kerry S. Culpepper
                               Kerry S. Culpepper
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